                                          Case: 4:13-cv-00502-CAS Doc. #: 4 Filed: 04/04/13 Page: 1 of 2 PageID #: 14




• Complete items 1, 2, and 3. Also complete
  item 4 if Restricted Delivery is desired.
• Print your name and address on the reverse
  so that we can return the card to you.
• Attach this card to the back of the mailpiece,
  or on the front if space permits.
                                                        D. Is delivery address different from Item 1?
                                                           If YES, enter delivery address below:
Eyton Sanders
14393 Washington Blvd
University H::ights, OH 44118

                                                        3~iCeType

  ~~$~1 ~(o)lf?U~~~l[B~~
                                                               Certified Mail   D   Express Mail
                                                                 egistered      D Return Receipt for Merchandise
                                                           D   Insured Mail     DC.O.D.
                                                                                                          Dyes
2. Article Number                     7009 1680 0001 8448 3177
   (Transfer from service label)
PS Form 3811. February 2004               Domestic Return Receipt                                       102595-02-M-1540   l

                                                                                                                           i
           Case: 4:13-cv-00502-CAS Doc. #: 4 Filed: 04/04/13 Page: 2 of 2 PageID #: 15
 u.s. Department of Justice                              PROCESS RECEIPT AND RETURN
 United States Marshals Service
 PLAINTIFF                                                                                                                                         COURT CASE NUMBER
 UNITED STATES OF AMERICA                                                                                                                          4: 13CV00502 CAS                   ,FIL ..E o
 DEFENDANT                                                                                                                                         TYPE OF PROCESS
 $88,267.00 U.S. Currency                                                                                                                          Complaint & NoticeAPR                  -. 4 20 13
                       NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN                                                 U. S. DbTRICf C
 SERVE                                                                                                                                                                                      OURf
      •
                                                                                                                                                                            EASTERN DISTRIC OF
                       Eyton Sanders                                                                                                                                              ST. LO'i     MOIII
   AT                  ADDRESS (Street or RFD. Apartment NQ., City. State, and ZIP Code)

                       14393 Washington Boulevard, University Heights, OH 44118-4676
                                                                                                                                                                        -

 SEND NOTICE OF SERVICE TO REQUESTER AT NAME AND ADDRESS BELOW:                                                                I Number of process to be served
                                                                                                                               I with this Fonn - 285
--------------------------
                  Attn: Milton C. McDaniel; Asset Forfeiture Unit                                                              I   Number of parties to be served
                  Office of the United States Attorney                                                                         I   in this case
                  111 South Tenth Street, 20th Floor
                  St. Louis, Missouri 63102                                                                                    : Check for service on U.S.A.             --
----------------                                                                ---------
 SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Address, All Telephone
 Numbers, and Estimated Times Available For Service)

               13-DEA-574283


 Signature of Attorney or other Originator requesting service on behalf of:                                1:81   PLAINTIFF        TELEPHONE NUMBER                    DATE
                                                                                                       o DEFENDANT
 lsI Julia M. Wright                                                                                                               314/539-7740                        March 22, 2013


                      SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
 I acknowledge receipt for the total       Total Process       District of Origin      District to Serve
 number ofprocess indicated.
 (Sign only first USM 285 if more than        )
 one USM 285 is submitted)                 No.--L­             No.M                    No.M


 I hereby  ~rtifyand return that 10 have personally served, 0 have legal evidence ofservice,)rijtave executed as shown in "Remarks", the process described on the
 individual, company, corporation, etc. at the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.


 o I hereby certifY and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below).
 Name and title of individual served (flnot shown above).
                                                                                                                                      o        A person of suitable age and discretion then residing
                                                                                                                                               in the defendant's usual place of abode.

 Address (complete only if different than shown above)                                                                                                                 Time                   am

                                                                                                                                                                                              pm




 Service Fee            Total Mileage Charges        Forwarding Fee           Total Charges                 Advance Deposits                                                  Amount or Refund


                                                                            ~CJS,lJ)
                        (including endeavors)

~en,f1)
 REMARKS:

                                            *03/22/2013 Mailed Certified, Cert No: 700916800001 84483177


 PRIOR EDITIONS MAY                                              1. CLERK OF THE COURT                                                                      FORM USM 285 (Rev. 12/15/80)
 BE USED


~SMSRECORD                           o NOTICE OF SERVICE                        o BILLING STA TEMENT                           o ACKNOWLEDGMENT OF RECEIPT
